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                         Exhibit A
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---------- Forwarded message ---------
From: USAID Industry Liaison <USAID-Industry-Liaison@subscribe.usaid.gov>
Date: Sat, Feb 15, 2025 at 3:27 PM
Subject: Special Notice to All Foreign Assistance Recipients
To: <lrapier@usaid.gov>




    On February 13, 2025, the Court hearing the case of AIDS Vaccine Coalition v. U.S.
    Department of State and Global Health Council v. Trump entered a temporary
    restraining order against the Department of State, USAID, and OMB, that contains
    the following operative language:

    “Consistent with the reasoning above, it is hereby ORDERED that Defendants Marco
    Rubio, Peter Marocco, Russell Vought, the U.S. Department of State, the U.S. Agency
    for International Development, and the Office of Management and Budget (the
    “Restrained Defendants”) and their agents are temporarily enjoined from enforcing
    or giving effect to Sections 1, 5, 7, 8, and 9 of Dep’t of State, Memorandum, 25 STATE
    6828 (Jan. 24, 2025) and any other directives that implement Sections 3(a) and 3(c) of
    Executive Order Number 14169, “Reevaluating and Realigning United States Foreign
    Aid” (Jan. 20, 2025), including by:

       •      suspending, pausing, or otherwise preventing the obligation or
           disbursement of appropriated foreign-assistance funds in connection with
           any contracts, grants, cooperative agreements, loans, or other federal foreign
           assistance award that was in existence as of January 19, 2025; or

       •      issuing, implementing, enforcing, or otherwise giving effect to
           terminations, suspensions, or stop-work orders in connection with any
           contracts, grants, cooperative agreements, loans, or other federal foreign
           assistance award that was in existence as of January 19, 2025.

    “It is further hereby ORDERED that nothing in this order shall prohibit the Restrained
    Defendants from enforcing the terms of contracts or grants.

    “It is further hereby ORDERED that the Restrained Defendants shall take all steps
    necessary to effectuate this order and shall provide written notice of this order to all
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    recipients of existing contracts, grants, and cooperative agreements for foreign
    assistance.

    “It is further hereby ORDERED that the Restrained Defendants shall file a status
    report by February 18, 2025, apprising the Court of the status of their compliance
    with this order, including by providing a copy of the written notice described above.”

    We will provide further guidance on this TRO as soon as we are able to do so.

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